                 Case 1:20-cv-03178-LJL Document 95-2 Filed 12/01/20 Page 1 of 3




                                        This is a rapidly changing situation.
                      Check the Health Department and CDC’s webpages for the latest updates:
                                           nyc.gov/health/coronavirus
                                                 cdc.gov/coronavirus

                    2019 Novel Coronavirus (2019-nCoV) FAQ for Businesses and Employers

There is an outbreak of respiratory disease (which affects breathing) caused by a novel (new) coronavirus. Infections
with this novel coronavirus have been reported in some travelers from China to other countries, including the U.S. The
NYC Health Department is closely monitoring this outbreak. For the latest information, visit
nyc.gov/health/coronavirus.

About Novel Coronavirus
    1. What is a novel coronavirus?
       Coronaviruses are a family of viruses that are common throughout the world. They cause illnesses ranging
       from the common cold to more serious illnesses like pneumonia. A novel coronavirus is a type of
       coronavirus that has not been previously seen in humans. Novel coronavirus has been detected in
       thousands of people worldwide, primarily in China.

    2. How serious is this virus and what are the range of symptoms?
       Reported illnesses due to infection with novel coronavirus have ranged from mild to severe. Symptoms can
       include fever, cough or shortness of breath.

    3. How does this virus spread?
       Much is still unknown about how novel coronavirus spreads. Current information suggests that person-to-
       person spread is occurring, but it is not clear how easily the virus spreads between people. Person-to-
       person spread is thought to occur mainly via respiratory droplets produced when an infected person coughs
       or sneezes, similar to how the flu and other respiratory illnesses spread.

    4. How long before symptoms of the virus appear?
       The Centers for Disease Control and Prevention (CDC) believes at this time that symptoms of novel coronavirus
       may appear between two and 14 days after exposure.

Guidance for the Workplace

    5. What do I need to know if I have an employee who has recently traveled to China? People who arrived into the
       U.S. from mainland China (other than Hubei province) on or after February 3, 2020 and who have no symptoms
       can return to work or school after completing a self-monitoring period at home for up to 14 days, depending on
       their last day in China. There is no clearance process. People without symptoms are not tested for the virus.

    6. When should employees be asked to stay home?
       If employees, regardless of recent travel history, have symptoms of an acute respiratory illness, you should
       recommend that they stay home until they no longer have a fever (temperature above 100.4 degrees F or 38.0

2/14/2020
                Case 1:20-cv-03178-LJL Document 95-2 Filed 12/01/20 Page 2 of 3




      degrees C) for at least 24 hours without taking any fever-reducing medications (like Tylenol, aspirin, or
      ibuprofen).


   7. What steps can we take to prevent respiratory illnesses like novel coronavirus and the flu?
        • Encourage employees to get the flu vaccine — it’s not too late. Employees can visit nyc.gov/flu or text
             FLU to 877877 for low- to no-cost vaccine locations.
        • Encourage employees who are sick to stay home and seek medical care if needed. New Yorkers who
             do not have primary care providers can call 311 or visit nychealthandhospitals.org to find a provider.
        • Make sure your work policies are flexible and consistent with public health guidelines. Do not require
             a doctor’s note for staff who are sick, as provider offices may be very busy. Allow your staff to stay
             home and care for family members who are sick.
        • Separate employees who are sick. If staff arrive to work showing symptoms of respiratory illness,
             separate them from other staff members and send them home.
        • Emphasize and encourage healthy hygiene habits and etiquette. Put up posters encouraging staff to
             stay home when sick, to cover their coughs and sneezes with a tissue or their sleeve (not their hands),
             and to wash their hands often with soap and water for at least 20 seconds. Consider making alcohol-
             based hand sanitizer available at your place of business. You can order free posters from the Health
             Department reinforcing these healthy habits by calling 311 or visiting nyc.gov/health/coronavirus to
             download and print.
        • Provide tissues, no-touch trash cans and hand sanitizer.
        • Keep workspaces clean. Use cleaners with disinfectant to wipe down workstations, countertops and
             doorknobs. Provide disposable wipes to your staff.

   8. What if my staff have family members who have recently been in China?
      Staff who were not in China should continue to go to work if their family member who traveled from China
      has no symptoms.

   9. What can I do to prepare for a potential local outbreak?
        • Create an outbreak response plan:
                   o Review human resources policies and practices. Make sure they are consistent with public
                     health recommendations and state and federal workplace laws.
                   o Explore whether you can establish flexible work hours (staggered shifts) or work sites (work
                     from home or telecommuting). This will allow physical distance among employees.
                   o Identify critical job roles and functions. Plan out business operations with less staff or
                     interruptions in functions. Consider cross-training personnel to perform essential functions.
                   o Plan communication strategies with staff and business partners to share information and
                     updates, and to reduce fear and misinformation.
                   o Consider canceling large work-related meetings, events and travel. Review the CDC travel
                     guidance for more information (cdc.gov/wuhan).
                   o If you have more than one business location, allow your local managers to take appropriate
                     actions based on the conditions in each location. Outline appropriate actions in your outbreak
                     response plan.
        • Share and discuss the outbreak response plan with your employees. Allow them to provide feedback
             and address any gaps in the plan.
        • Reach out to other businesses in your community, chambers of commerce, associations and networks to
             create a unified plan.
2/14/2020
                 Case 1:20-cv-03178-LJL Document 95-2 Filed 12/01/20 Page 3 of 3




   10. Should I ask employees to wear face masks?
       The Health Department does not recommend wearing a face mask if they are healthy. Face masks are only
       recommended if directed by a health care provider. However, people wear protective face masks for many
       reasons, including seasonal allergies, pollution or protecting those around them from a common cold. They
       should not be harassed or targeted for wearing one.

   11. What if someone comes to my business and I think they have the novel coronavirus? Should I report them?
         • It is illegal to turn someone away from your business (restaurants, stores, hospitals and other public
               accommodations) and refuse service to people or make them feel unwelcome because of actual or
               perceived race and nation of origin.
         • It is illegal to harm or harass a person because of their race or the country they are from. Treat all
               people with respect and do not single them out based on their race, ethnicity or what country they
               are from.
         • You do not need to report anyone who you think may have been exposed or be infected. The Health
               Department is conducting thorough outreach and does not require assistance from the general public
               in identifying individuals.

   12. What can I do to help decrease fear and discrimination related to novel coronavirus?
         • Stay informed, listen to public health messages from reliable sources like the NYC Health Department or
              the CDC, and implement good personal and public health practices to prevent the spread of respiratory
              viruses.
         • Avoid stigmatizing people who have recently traveled from mainland China. There are a lot of things
              on social media and in the news that are not rooted in science and are offensive, demeaning
              and racist.

   13. My staff and/or I are feeling stressed or harassed because of the potential outbreak. What can I do?
          • Emotional reactions to stressful situations such as feeling sad, anxious or overwhelmed, or having
              trouble sleeping, or other symptoms of distress are normal. If you or your staff are feeling stressed or
              anxious, contact NYC Well at 888-NYC-WELL (888-692-9355) or text WELL to 65173. NYC Well is a
              confidential help line that is staffed 24/7 by trained counselors who can provide brief supportive
              therapy, crisis counseling and connections to behavioral health treatment and support in more than 200
              languages.
          • If you feel you or your staff has been harassed due to race, nation of origin or other identities, you can
              report this to the NYC Commission on Human Rights by calling 311 or 718-722-3131.


For more information on novel coronavirus, visit nyc.gov/health/coronavirus or cdc.gov/coronavirus.




2/14/2020
